Case:17-03283-LTS Doc#:14694-4 Filed:10/20/20 Entered:10/20/20 17:20:01   Desc:
                           Exhibit D Page 1 of 9



                                     Exhibit D

              Schedule of Deficient Claims with Undeliverable Addresses
                                  Case:17-03283-LTS Doc#:14694-4 Filed:10/20/20 Entered:10/20/20 17:20:01                                                     Desc:
                                                             Exhibit D Page 2 of 9

                                                             One Hundred and Forty-Second Omnibus Objection
                                                    Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   MONGE, VIOLETA IRIZARRY                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      128083             $ 40,000.00*
    CALLE PORTUGAL, 473 VISTA MAR
    CAROLINA, PR 00983

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
2   MORALES CALES, CARMEN LIGIA                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      144785          Undetermined*
    CALLE 3 F-13A
    DOS PINOS TOWN HOUSES
    SAN JUAN, PR 00923

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
3   MORALES COLON, INGRID S.                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      140186          Undetermined*
    URD. ALTURAS DE COAMO
    B-29 CALLE CALIZA
    COAMO, PR 00769

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
4   MORALES CRUZ, IVETTE M.                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      163475          Undetermined*
    URB VILLAS DEL SOL CALLE 6 D-7
    TRUJILLO ALTO, PR 00976

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
5   MORALES MORALES, LUZ ENID                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      145450          Undetermined*
    CALLE SOLDADO LIBRAN SAN AGUSTIN
    APT. 383
    SAN JUAN, PR 00923

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
6   MORALES PENALOZA, GLORIA MARGARITA                                                      6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      152021          Undetermined*
    URB SANTIAGO C/C #14 L
    LOIZA, PR 00772

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
7   MORALES RODRIGUEZ, IRMA                                                                  7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      157340          Undetermined*
    HC 74 BOX 5943 BARRIO NUEVO NARANJITO
    NARANJITO, PR 00719

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 8
                                   Case:17-03283-LTS Doc#:14694-4 Filed:10/20/20 Entered:10/20/20 17:20:01                                                     Desc:
                                                              Exhibit D Page 3 of 9

                                                              One Hundred and Forty-Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
8    MORCIGLIO RIVERA, ANGELES W.                                                            6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      166899          Undetermined*
     Z-16 FANTUNSIA
     PONCE, PR 00730-1671

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
9    MOREIRA DIAZ, CARMEN EDITH                                                              6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      131341             $ 15,000.00*
     CALLEJONTAMARIENDO #390
     SAN JUAN, PR 00915

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
10   MORELL MARTELL, CARLOS                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      164576          Undetermined*
     897 CAPITENEJO CARR. 1 KM 116
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
11   MORELL MARTELL, JUDITH                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      167062          Undetermined*
     4335 LAFITEC CHALET PUNTO ORO
     PONCE, PR 00732-8621

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
12   MORELL MARTELL, OLGA                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      136157          Undetermined*
     897 CAPITANEJO CARR. 1 KM 116
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
13   MOYETT MARTINEZ, GLADYS                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      127642          Undetermined*
     URB. JARDINES DE VALENMAINS A-8
     JUNCOS, PR 00777

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
14   MOYETT MATINEZ, GLADYS                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      113040          Undetermined*
     URB. JARDINES DE VALENCIAM A-8
     JUNCOS, PR 00777

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 2 of 8
                                   Case:17-03283-LTS Doc#:14694-4 Filed:10/20/20 Entered:10/20/20 17:20:01                                                     Desc:
                                                              Exhibit D Page 4 of 9

                                                              One Hundred and Forty-Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED        CASE NUMBER                      DEBTOR                      CLAIM #           AMOUNT
15   MULENO DE JESUS, EMILIO                                                                 6/29/2018      17 BK 03567-LTS Puerto Rico Highways and                         144056           Undetermined*
     CALLE RIO 56 AA BZN 236                                                                                                Transportation Authority
     BUENAVENTURA
     CAROLINA, PR 00987

     Reason: Proof of claim purports to assert liabilities associated with the Puerto Rico Highways and Transportation Authority, but fails to provide any basis or supporting documentation for asserting a
     claim against the Puerto Rico Highways and Transportation Authority, such that the Debtors are unable to determine whether claimant has a valid claim against the Puerto Rico Highways and
     Transportation Authority or any of the other Title III debtors
16   MUNIZ MALDONADO, AIDA LUZ                                                               6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      141116           Undetermined*
     CALLE 64 2I-64 METROPOLIS 3
     CAROLINA, PR 00987

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
17   MUNOZ CEDENO, AIDA L                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      164187           Undetermined*
     BOX 13903
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
18   MUNOZ CEDENO, AIDA L.                                                                   6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      153256           Undetermined*
     BOX 13903
     JUANA DIAZ, PR 00795

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
19   MUNOZ REYES, IRIS IVETTE                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      121252           Undetermined*
     PO BOX 259
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
20   NAVARO LOPEZ, AIDA I                                                                    6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      157789            $ 150,000.00*
     CALLE 21 U-14 URB VILLIAS DEHOINL
     CANOVANAS, PR 00729

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
21   NAVEDO SAMPER, LUIS GERARDO                                                             6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      149856           Undetermined*
     VILLA ESPANA
     TARRAGONA B44
     BAYAMON, PR 00961

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors

             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 3 of 8
                                   Case:17-03283-LTS Doc#:14694-4 Filed:10/20/20 Entered:10/20/20 17:20:01                                                     Desc:
                                                              Exhibit D Page 5 of 9

                                                              One Hundred and Forty-Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
22   NAZARIA BARRERAS, RAMONITA                                                              7/10/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      161423              $ 8,400.00*
     URB. RAMIREZ DE ARELLANO, CALLE ANTONIO PAOLI #12
     MAYAGUEZ, PR 00682

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
23   NEGRON ALVARADO, ELVIN                                                                  6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      117739          Undetermined*
     BO. LAS OCHENTA CALLE JAZMIN #61
     SALINAS, PR 00751

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
24   NEGRON BERRIOS, JUAN ANTONIO                                                             7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      156188          Undetermined*
     P.O. BOX 1291
     OROCOVIS, PR 00720

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
25   NERO OLIVER, MARIA A. E DEL                                                             6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      125538              $ 14,400.00
     MATIERZO CINTRON 58
     APT 7


     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
26   NIEVES COLON, LUIS                                                                      6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      147121          Undetermined*
     BRISAS DEL MAN EDA # 1. 4
     SALINAS, PR 00751

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
27   NIEVES RIVERA, PEDRO JUAN                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      139480          Undetermined*
     URB. COUNTRY CLUB EXT #3 C. 244 CASA JJ-13
     CAROLINA, PR 00982

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
28   NOLASCO LOMBA, DEBORAH L.                                                                7/6/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      150027              $ 10,800.00
     URB. RAMIREZ DE ARELLANO 12 CALLE ANTONIO PAOLI
     MAYAGUEZ, PR 00682

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 4 of 8
                                   Case:17-03283-LTS Doc#:14694-4 Filed:10/20/20 Entered:10/20/20 17:20:01                                                     Desc:
                                                              Exhibit D Page 6 of 9

                                                              One Hundred and Forty-Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
29   NORAT ORTIZ, AIDA                                                                       6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      123086          Undetermined*
     REPARTO MAGERA LA CASILLA#54
     COAMO, PR 00769

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
30   NUNEZ LOPEZ, NILDA DEL C.                                                               6/29/2018      17 BK 03566-LTS Employees Retirement System of the               143130          Undetermined*
     RR 04 BUZON 7940                                                                                                       Government of the Commonwealth
     CIDRA, PR 00739                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
31   NUNEZ PENA, ANGEL A                                                                     6/28/2018      17 BK 03566-LTS Employees Retirement System of the               167320          Undetermined*
     PMB 220 CALLE BARCELO 201                                                                                              Government of the Commonwealth
     BARRANQUITAS, PR 00794                                                                                                 of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
32   NUNEZ PENA, CARLOS E                                                                    6/28/2018      17 BK 03566-LTS Employees Retirement System of the               166044          Undetermined*
     URBANIZACTION SAN CRISTOBAL CALLE A                                                                                    Government of the Commonwealth
     BARRANQUITAS, PR 00794                                                                                                 of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
33   NUNEZ ZAYAS, MILDRED J.                                                                 6/22/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      116049          Undetermined*
     BO. CAONILLAS ABAJO CARR 150 KM 5.8
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
34   OCASIO FIQUEROA, LILLIAN                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      113599              $ 15,600.00
     BO. CAIMITO ALTO KM.3 HM.9
     SECTOR LOS CACOS
     SAN JUAN, PR 00926

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 5 of 8
                                   Case:17-03283-LTS Doc#:14694-4 Filed:10/20/20 Entered:10/20/20 17:20:01                                                     Desc:
                                                              Exhibit D Page 7 of 9

                                                              One Hundred and Forty-Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
35   OLIVER BARBOSA, ANA IRIS                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      134011              $ 30,000.00
     C/VILLA ALMENDRO
     ALLL PLANTIO
     TOA BAJA, PR 00949

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
36   OLIVERA MORALES, FERMINA                                                                6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      115023              $ 10,000.00
     MUNUZ RIVERA 207
     GUAYANILLA, PR 00656

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
37   OLIVERAS CARABALLO, GLORIA                                                              6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      146413          Undetermined*
     160 CALLE GOLONDRINA
     GUAYANILLA, PR 00656

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
38   OLIVIERI SANCHEZ, JOSE A.                                                               6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      154773          Undetermined*
     BO. JAGUEYES CARR. 149 KM.59.5
     VILLALBA, PR 00766

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
39   OLMO BARREIRO, CARMEN IRIS                                                               7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      155232              $ 18,000.00
     URB. LUQUILLO MAR CC/78 CALLE C
     LUQUILLO, PR 00773

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
40   ORTIZ CABRERA , NIXA I                                                                   7/5/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      153987          Undetermined*
     C/13 J-53 EL CORTIJO
     BAYAMON, PR 00936

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
41   ORTIZ CANCEL, JULIO                                                                     6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      119996          Undetermined*
     104 CEIBA
     TOA ALTA, PR00953

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors



             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 6 of 8
                                   Case:17-03283-LTS Doc#:14694-4 Filed:10/20/20 Entered:10/20/20 17:20:01                                                     Desc:
                                                              Exhibit D Page 8 of 9

                                                              One Hundred and Forty-Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
42   ORTIZ DIAZ, HELEN                                                                       6/27/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      126716          Undetermined*
     HC BOX 35716
     CAGUAS, PR 00727

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
43   ORTIZ DIAZ, JUDITH                                                                      6/28/2018      17 BK 03566-LTS Employees Retirement System of the               116064          Undetermined*
     CARR.178 KM9 HM7 RIO ABAJO                                                                                             Government of the Commonwealth
     CIDRA, PR 00739                                                                                                        of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
44   ORTIZ GARCIA, CATALINA                                                                  6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      133870          Undetermined*
     HC 61 BOX 4981
     TRUJLLO ALTO, PR 00976

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
45   ORTIZ MARRENO, NAYDAMAR                                                                 6/28/2018      17 BK 03566-LTS Employees Retirement System of the               120114          Undetermined*
     PO BOX 565                                                                                                             Government of the Commonwealth
     URB. SAN CRISTOBAL                                                                                                     of Puerto Rico
     BARRANQUITAS, PR 00794

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
46   ORTIZ MARRERO, NAYDAMAR                                                                 6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      142082          Undetermined*
     PO BOX 565
     URB. SAN CRISTOBAL
     BARRANQUITAS, PR 00794

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
47   ORTIZ MELENDEZ, OVAL A.                                                                 6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      154937          Undetermined*
     CALLE A CASA 7 PARE LOS SEGUI
     CIALES, PR 00638

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 7 of 8
                                   Case:17-03283-LTS Doc#:14694-4 Filed:10/20/20 Entered:10/20/20 17:20:01                                                     Desc:
                                                              Exhibit D Page 9 of 9

                                                              One Hundred and Forty-Second Omnibus Objection
                                                     Exhibit D - Schedule of Deficient Claims with Undeliverable Addresses
                                                                                                                                                                                        ASSERTED CLAIM
     NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
48   ORTIZ PEREZ, JOSEFINA                                                                   6/28/2018      17 BK 03566-LTS Employees Retirement System of the               145484          Undetermined*
     HC 02 BOX 13250                                                                                                        Government of the Commonwealth
     AGUAS BUENAS, PR 00703-9605                                                                                            of Puerto Rico

     Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
     supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
     whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
49   ORTIZ QUINONOZ, HAMILTON                                                                6/29/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      120807          Undetermined*
     #1547 CALLE MARGINAL
     PONCE, PR 00731

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
50   ORTIZ RIOS, LORNA                                                                       6/28/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      133462          Undetermined*
     JARDIN CAPARRA
     CALLE 45 BB4
     BAYAMON, PR 00959

     Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
     Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                       TOTAL                    $ 312,200.00*




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 8 of 8
